Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 1 of 23 Page ID #:498




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 6
 7   Attorneys for Defendant, JESSE CERRITOS
 8                     UNITED STATES DISTRICT COURT
 9
                     CENTRAL DISTRICT OF CALIFORNIA
10
11   KENNETH EARL MOORE,                      Case No.: 2:19-cv-08946-DSF (JPRx)
12
                    Plaintiff,                (Hon. Dale S. Fischer)
13
14         vs.                                ANSWER OF DEFENDANT, JESSE
                                              CERRITOS, TO PLAINTIFF’S
15   CERRITOS, DEPUTY SHERIFF, LOS            THIRD AMENDED COMPLAINT;
16   ANGELES COUNTY SHERIFF                   REQUEST FOR JURY TRIAL
     DEPARTMENT, and INEZ,
17   SERGEAN T, LOS ANGELES                   Action Filed: October 17, 2019
18   COUNTY SHERIFF DEPARTMENT,
19               Defendants.
20
21
22         TO PLAINTIFF AND TO ALL PARTIES AND TO THEIR RESPECTIVE
23   ATTORNEYS OF RECORD HEREIN:
24         Defendant, JESSE CERRITOS, for himself alone and for no others, hereby
25   answers the Third Amended Complaint (SAC) of plaintiff, KENNETH EARL
26   MOORE and pleads as follows:
27   ///
28   ///

                                             -1-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 2 of 23 Page ID #:499




 1                               JURISDICTION AND VENUE
 2          1.       Answering Paragraph 1, Defendant admits that jurisdiction is proper
 3   based upon the allegations of the TAC. Defendant denies that he violated
 4   Plaintiff’s civil rights.
 5          2.       Answering Paragraph 2, Defendant admits that venue is proper based
 6   upon the allegations of the TAC. Defendant denies that he violated Plaintiff’s
 7   civil rights.
 8                                         PARTIES
 9          3.       Answering Paragraph 3, Defendant lacks sufficient knowledge or
10   information to form a belief as to the truth of the allegations contained in said
11   paragraph and on that basis, they are denied.
12          4.       Answering Paragraph 4, Defendant admits that he was and is a
13   Deputy Sheriff with the Los Angeles County Sheriff’s Department. The
14   remainder of the allegations in this paragraph are vague, ambiguous and over
15   broad. Accordingly, Defendant does not have sufficient knowledge or
16   information to form a belief as to the truth of the remainder of the allegations
17   contained in said paragraph, and on that basis, they are denied.
18          5.       Answering Paragraph 5, Defendant lacks sufficient knowledge or
19   information to form a belief as to the truth of the allegations contained in said
20   paragraph and on that basis, they are denied.
21          6.       Answering Paragraph 6, the allegations in this paragraph are vague,
22   ambiguous and over broad. Accordingly, Defendant does not have sufficient
23   knowledge or information to form a belief as to the truth of the allegations
24   contained in said paragraph, and on that basis, they are denied.
25                                   FACTUAL ALLEGATIONS
26          7.       Answering Paragraph 7, Defendant lacks sufficient knowledge or
27   information to form a belief as to the truth of the allegations contained in said
28   paragraph.

                                                 -2-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 3 of 23 Page ID #:500




 1         8.      Answering Paragraph 8, Defendant denies the allegations of this
 2   paragraph.
 3         9.      Answering Paragraph 9, Defendant denies the allegations of this
 4   paragraph.
 5         10.     Answering Paragraph 10, Defendant denies the allegations of this
 6   paragraph.
 7         11.     Answering Paragraph 11, Defendant denies the conduct attributed to
 8   him in this paragraph. The remainder of the allegations of this paragraph are
 9   vague, ambiguous and overbroad. Accordingly, Defendant does not have
10   sufficient knowledge or information to form a belief as to the truth of the
11   remainder of the allegations contained in said paragraph, and on that basis, they
12   are denied.
13         12.     Answering Paragraph 12, Defendant denies the allegations of this
14   paragraph.
15         13.     Answering Paragraph 13, Defendant denies the allegations of this
16   paragraph.
17         14.     Answering Paragraph 14, Defendant denies the allegations of this
18   paragraph.
19         15.     Answering Paragraph 15, Defendant denies the allegations of this
20   paragraph.
21         16.     Answering Paragraph 16, Defendant denies the allegations of this
22   paragraph.
23         17.     Answering Paragraph 17, Defendant denies the allegations of this
24   paragraph.
25         18.     Answering Paragraph 18, Defendant admits having Plaintiff in his
26   vehicle and taking her from one area of downtown to another area of downtown.
27   The remainder of the allegations of this paragraph are vague, ambiguous and
28   overbroad. Accordingly, Defendant does not have sufficient knowledge or

                                                -3-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 4 of 23 Page ID #:501




 1   information to form a belief as to the truth of the remainder of the allegations
 2   contained in said paragraph, and on that basis, they are denied.
 3         19.    Answering Paragraph 19, Defendant denies the allegations of this
 4   paragraph.
 5         20.    Answering Paragraph 20, Defendant denies the allegations of this
 6   paragraph.
 7         21.    Answering Paragraph 21, Defendant denies the allegations of this
 8   paragraph.
 9         22.    Answering Paragraph 22, Defendant denies the allegations of this
10   paragraph.
11         23.    Answering Paragraph 23, Defendant denies the allegations of this
12   paragraph.
13         24.    Answering Paragraph 24, Defendant admits that Plaintiff got out of
14   his vehicle. Defendant denies the remainder of the allegations and the inferences
15   contained in this paragraph.
16         25.    Answering Paragraph 25, Defendant admits that he knew the conduct
17   set forth in this paragraph was unlawful and denies that he did any of the actions
18   set forth in this paragraph.
19         26.    Answering Paragraph 26, Defendant lacks sufficient knowledge or
20   information to form a belief as to the truth of the allegations contained in said
21   paragraph and on that basis, they are denied.
22         27.    Answering Paragraph 27, Defendant lacks sufficient knowledge or
23   information to form a belief as to the truth of the allegations contained in said
24   paragraph and on that basis, they are denied.
25         28.    Answering Paragraph 28, Defendant lacks sufficient knowledge or
26   information to form a belief as to the truth of the allegations contained in said
27   paragraph and on that basis, they are denied.
28   ///

                                                -4-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 5 of 23 Page ID #:502




 1         29.    Answering Paragraph 29, Defendant admits that while working at
 2   Men’s Central Jail, he escorted Plaintiff from one area of the jail to another as part
 3   of his duties. Defendant lacks sufficient knowledge or information to form a
 4   belief as to the truth of the remainder of the allegations contained in said
 5   paragraph and on that basis, the remainder of the allegations are denied.
 6         30.    Answering Paragraph 30, Defendant denies the allegations of this
 7   paragraph.
 8         31.    Answering Paragraph 31, Defendant denies the allegations of this
 9   paragraph.
10         32.    Answering Paragraph 32, Defendant denies the allegations of this
11   paragraph.
12         33.    Answering Paragraph 33, Defendant lacks sufficient knowledge or
13   information to form a belief as to the truth of the allegations contained in said
14   paragraph and on that basis, they are denied.
15         34.    Answering Paragraph 34, Defendant lacks sufficient knowledge or
16   information to form a belief as to the truth of the allegations contained in said
17   paragraph and on that basis, they are denied.
18         35.    Answering Paragraph 35, Defendant lacks sufficient knowledge or
19   information to form a belief as to the truth of the allegations contained in said
20   paragraph and on that basis, they are denied.
21         36.    Answering Paragraph 36, Defendant lacks sufficient knowledge or
22   information to form a belief as to the truth of the allegations contained in said
23   paragraph and on that basis, they are denied.
24         37.    Answering Paragraph 37, Defendant lacks sufficient knowledge or
25   information to form a belief as to the truth of the allegations contained in said
26   paragraph and on that basis, they are denied.
27   ///
28   ///

                                                -5-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 6 of 23 Page ID #:503




 1         38.    Answering Paragraph 38, Defendant lacks sufficient knowledge or
 2   information to form a belief as to the truth of the allegations contained in said
 3   paragraph and on that basis, they are denied.
 4         39.    Answering Paragraph 39, Defendant lacks sufficient knowledge or
 5   information to form a belief as to the truth of the allegations contained in said
 6   paragraph and on that basis, they are denied.
 7         40.    Answering Paragraph 40, Defendant lacks sufficient knowledge or
 8   information to form a belief as to the truth of the allegations contained in said
 9   paragraph and on that basis, they are denied.
10         41.    Answering Paragraph 41, Defendant denies the allegations attributed
11   to him in this paragraph. As to the remainder of the allegations, Defendant lacks
12   sufficient knowledge or information to form a belief as to the truth of the
13   allegations contained in the remainder of said paragraph and on that basis, they are
14   denied.
15         42.    Answering Paragraph 42, Defendant lacks sufficient knowledge or
16   information to form a belief as to the truth of the allegations contained in said
17   paragraph and on that basis, they are denied.
18         43.    Answering Paragraph 43, Defendant lacks sufficient knowledge or
19   information to form a belief as to the truth of the allegations contained in said
20   paragraph and on that basis, they are denied.
21         44.    Answering Paragraph 44, Defendant lacks sufficient knowledge or
22   information to form a belief as to the truth of the allegations contained in said
23   paragraph and on that basis, they are denied.
24         45.    Answering Paragraph 45, Defendant lacks sufficient knowledge or
25   information to form a belief as to the truth of the allegations contained in said
26   paragraph and on that basis, they are denied.
27   ///
28   ///

                                                -6-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 7 of 23 Page ID #:504




 1         46.    Answering Paragraph 46, Defendant lacks sufficient knowledge or
 2   information to form a belief as to the truth of the allegations contained in said
 3   paragraph and on that basis, they are denied.
 4         47.    Answering Paragraph 47, Defendant lacks sufficient knowledge or
 5   information to form a belief as to the truth of the allegations contained in said
 6   paragraph and on that basis, they are denied.
 7         48.    Answering Paragraph 48, Defendant denies the conduct attributed to
 8   him in this paragraph. As to the remainder of the allegations, Defendant lacks
 9   sufficient knowledge or information to form a belief as to the truth of the
10   allegations contained in said paragraph and on that basis, they are denied.
11         49.    Answering Paragraph 49, Defendant lacks sufficient knowledge or
12   information to form a belief as to the truth of the allegations contained in said
13   paragraph and on that basis, they are denied.
14         50.    Answering Paragraph 50, Defendant lacks sufficient knowledge or
15   information to form a belief as to the truth of the allegations contained in said
16   paragraph and on that basis, they are denied.
17         51.    Answering Paragraph 51, Defendant lacks sufficient knowledge or
18   information to form a belief as to the truth of the allegations contained in said
19   paragraph and on that basis, they are denied.
20         52.    Answering Paragraph 52, Defendant lacks sufficient knowledge or
21   information to form a belief as to the truth of the allegations contained in said
22   paragraph and on that basis, they are denied.
23         53.    Answering Paragraph 53, Defendant denies the conduct attributed to
24   him in this paragraph. As to the remainder of the allegations, Defendant lacks
25   sufficient knowledge or information to form a belief as to the truth of the
26   remainder of the allegations contained in said paragraph and on that basis, they are
27   denied.
28   ///

                                                -7-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 8 of 23 Page ID #:505




 1         54.    Answering Paragraph 54, Defendant lacks sufficient knowledge or
 2   information to form a belief as to the truth of the allegations contained in said
 3   paragraph and on that basis, they are denied.
 4         55.    Answering Paragraph 55, Defendant lacks sufficient knowledge or
 5   information to form a belief as to the truth of the allegations contained in said
 6   paragraph and on that basis, they are denied.
 7         56.    Answering Paragraph 56, Defendant lacks sufficient knowledge or
 8   information to form a belief as to the truth of the allegations contained in said
 9   paragraph and on that basis, they are denied.
10         57.    Answering Paragraph 57, Defendant lacks sufficient knowledge or
11   information to form a belief as to the truth of the allegations contained in said
12   paragraph and on that basis, they are denied.
13         58.    Answering Paragraph 58, Defendant lacks sufficient knowledge or
14   information to form a belief as to the truth of the allegations contained in said
15   paragraph and on that basis, they are denied.
16         59.    Answering Paragraph 59, Defendant lacks sufficient knowledge or
17   information to form a belief as to the truth of the allegations contained in said
18   paragraph and on that basis, they are denied.
19         60.    Answering Paragraph 60, Defendant lacks sufficient knowledge or
20   information to form a belief as to the truth of the allegations contained in said
21   paragraph and on that basis, they are denied.
22         61.    Answering Paragraph 61, Defendant lacks sufficient knowledge or
23   information to form a belief as to the truth of the allegations contained in said
24   paragraph and on that basis, they are denied.
25         62.    Answering Paragraph 62, Defendant lacks sufficient knowledge or
26   information to form a belief as to the truth of the allegations contained in said
27   paragraph and on that basis, they are denied.
28   ///

                                                -8-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 9 of 23 Page ID #:506




 1         63.      Answering Paragraph 63, Defendant lacks sufficient knowledge or
 2   information to form a belief as to the truth of the allegations contained in said
 3   paragraph and on that basis, they are denied.
 4         64.      Answering Paragraph 64, Defendant lacks sufficient knowledge or
 5   information to form a belief as to the truth of the allegations contained in said
 6   paragraph and on that basis, they are denied.
 7         65.      Answering Paragraph 65, Defendant lacks sufficient knowledge or
 8   information to form a belief as to the truth of the allegations contained in said
 9   paragraph and on that basis, they are denied.
10         66.      Answering Paragraph 66, Defendant lacks sufficient knowledge or
11   information to form a belief as to the truth of the allegations contained in said
12   paragraph and on that basis, they are denied.
13         67.      Answering Paragraph 67, Defendant lacks sufficient knowledge or
14   information to form a belief as to the truth of the allegations contained in said
15   paragraph and on that basis, they are denied.
16         68.      Answering Paragraph 68, Defendant lacks sufficient knowledge or
17   information to form a belief as to the truth of the allegations contained in said
18   paragraph and on that basis, they are denied.
19         69.      Answering Paragraph 69, Defendant lacks sufficient knowledge or
20   information to form a belief as to the truth of the allegations contained in said
21   paragraph and on that basis, they are denied.
22                                    CAUSES OF ACTION
23                                FIRST CLAIM FOR RELIEF
24               Sexual Battery in Violation of Cal. Code §1708.5 Against Cerritos
25         70.      Answering Paragraph 70, Defendant acknowledges that Plaintiff is
26   re-pleading all prior paragraphs and Defendant answers and responds to said
27   allegations as previously set forth above.
28   ///

                                                  -9-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 10 of 23 Page ID #:507




  1         71.    Answering Paragraph 71, this paragraph purports to be a statement of
  2   the law and therefore requires neither an admission nor a denial.
  3         72.    Answering Paragraph 72, this paragraph purports to be a statement of
  4   the law and therefore requires neither an admission nor a denial.
  5         73.    Answering Paragraph 73, Defendant agrees that these are Plaintiff’s
  6   allegations. Defendant denies each, every and all of the conduct alleged against
  7   him in this paragraph.
  8         74.    Answering Paragraph 74, Defendant denies that he was a cause of
  9   any injury or damage to Plaintiff. As to the remainder of the allegations,
 10   Defendant lacks sufficient knowledge or information to form a belief as to the
 11   truth of the remainder of the allegations contained in said paragraph and on that
 12   basis, they are denied.
 13         75.    Answering Paragraph 75, Defendant denies that he was a cause of
 14   any injury or damage to Plaintiff. As to the remainder of the allegations,
 15   Defendant lacks sufficient knowledge or information to form a belief as to the
 16   truth of the remainder of the allegations contained in said paragraph and on that
 17   basis, they are denied.
 18         76.    Answering Paragraph 76, Defendant denies that he was a cause of
 19   any injury or damage to Plaintiff. Defendant further denies that any of his
 20   conduct was in conscious disregard to Plaintiff’s rights or feelings or entitles
 21   Plaintiff to an award of punitive damages.
 22         77.    Answering Paragraph 77, Defendant denies that he was a cause of
 23   any injury or damage to Plaintiff and denies that any of his conduct entitles
 24   Plaintiff to an award of punitive damages.
 25                               SECOND CLAIM FOR RELIEF
 26               LIABILITY OF ALL DEFENDANTS UNDER 42 USC §1983
 27           (RETALIATION IN VIOLATION OF THE FIRST AMENDMENT)
 28         78.    Answering Paragraph 78, Defendant acknowledges that Plaintiff is

                                                 -10-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 11 of 23 Page ID #:508




  1   re-pleading all prior paragraphs and Defendant answers and responds to said
  2   allegations as previously set forth above.
  3         79.    Answering paragraph 79, Defendant denies the conduct attributed to
  4   him in this paragraph. The remainder of the paragraph is vague, ambiguous and
  5   over broad. Accordingly, Defendant lacks sufficient knowledge or information to
  6   form a belief as to the truth of the remainder of the allegations contained in said
  7   paragraph and on that basis, the remainder of the allegations are denied.
  8         80.    Answering paragraph 80, Defendant denies the conduct attributed to
  9   him in this paragraph. The remainder of the paragraph is vague, ambiguous and
 10   over broad. Accordingly, Defendant lacks sufficient knowledge or information to
 11   form a belief as to the truth of the remainder of the allegations contained in said
 12   paragraph and on that basis, the remainder of the allegations are denied.
 13         81.    Answering Paragraph 81, Defendant lacks sufficient knowledge or
 14   information to form a belief as to the truth of the allegations contained in said
 15   paragraph and on that basis, they are denied.
 16         82.    Answering Paragraph 82, Defendant denies any conduct which may
 17   be attributed to him in this paragraph. The remainder of the paragraph is vague,
 18   ambiguous and over broad. Accordingly, Defendant lacks sufficient knowledge or
 19   information to form a belief as to the truth of the allegations contained in said
 20   paragraph and on that basis, they are denied.
 21         83.    Answering Paragraph 82, Defendant denies any conduct which may
 22   be attributed to him in this paragraph. The remainder of the paragraph is vague,
 23   ambiguous and over broad. Accordingly, Defendant lacks sufficient knowledge or
 24   information to form a belief as to the truth of the allegations contained in said
 25   paragraph and on that basis, they are denied.
 26         84.    Answering Paragraph 84, Defendant lacks sufficient knowledge or
 27   information to form a belief as to the truth of the allegations contained in said
 28   paragraph and on that basis, they are denied.

                                                   -11-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 12 of 23 Page ID #:509




  1         85.    Answering Paragraph 85, Defendant denies any conduct which may
  2   be attributed to him in this paragraph. The remainder of the paragraph is vague,
  3   ambiguous and over broad. Accordingly, Defendant lacks sufficient knowledge or
  4   information to form a belief as to the truth of the allegations contained in said
  5   paragraph and on that basis, they are denied.
  6         86.    Answering Paragraph 86, the paragraph is vague, ambiguous and
  7   over broad. Accordingly, Defendant lacks sufficient knowledge or information to
  8   form a belief as to the truth of the allegations contained in said paragraph and on
  9   that basis, they are denied.
 10         87.    Answering Paragraph 87, the paragraph is vague, ambiguous and
 11   over broad. Accordingly, Defendant lacks sufficient knowledge or information to
 12   form a belief as to the truth of the allegations contained in said paragraph and on
 13   that basis, they are denied.
 14         88.    Answering Paragraph 88, Defendant denies any conduct which may
 15   be attributed to him in this paragraph. The remainder of the paragraph is vague,
 16   ambiguous and over broad. Accordingly, Defendant lacks sufficient knowledge or
 17   information to form a belief as to the truth of the allegations contained in said
 18   paragraph and on that basis, they are denied.
 19         89.    Answering Paragraph 89, Defendant denies any conduct which may
 20   be attributed to him in this paragraph. Defendant denies that he was a cause of
 21   injury or damage to Plaintiff. The remainder of the paragraph is vague,
 22   ambiguous and over broad. Accordingly, Defendant lacks sufficient knowledge or
 23   information to form a belief as to the truth of the allegations contained in said
 24   paragraph and on that basis, they are denied.
 25         90.    Answering Paragraph 90, Defendant denies that he was a cause of
 26   injury or damage to Plaintiff and denies that Plaintiff is entitled to an award of any
 27   damages, including punitive damages, as a result of any of his conduct. The
 28   remainder of the paragraph is vague, ambiguous and over broad. Accordingly,

                                                 -12-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 13 of 23 Page ID #:510




  1   Defendant lacks sufficient knowledge or information to form a belief as to the
  2   truth of the allegations contained in said paragraph and on that basis, they are
  3   denied.
  4         91.    Answering Paragraph 91, Defendant denies that he was a cause of
  5   injury or damage to Plaintiff and denies that Plaintiff is entitled to an award of any
  6   damages, including attorney’s fees or costs or expenses, as a result of any of his
  7   conduct. The remainder of the paragraph is vague, ambiguous and over broad.
  8   Accordingly, Defendant lacks sufficient knowledge or information to form a
  9   belief as to the truth of the allegations contained in said paragraph and on that
 10   basis, they are denied.
 11                             THIRD CLAIM FOR RELIEF
 12        LIABILITY OF DEFENDANT CERRITOS UNDER 42 USC §1983
 13     (FALSE ARREST IN VIOLATION OF THE FOURTH AMENDMENT)
 14         92.     Answering Paragraph 92, Defendant acknowledges that Plaintiff is
 15   re-pleading all prior paragraphs and Defendant answers and responds to said
 16   allegations as previously set forth above.
 17         93.    Answering Paragraph 93, Defendant denies the conduct attributed to
 18   him in this paragraph. The remainder of the paragraph is vague, ambiguous and
 19   over broad. Accordingly, Defendant lacks sufficient knowledge or information to
 20   form a belief as to the truth of the allegations contained in said paragraph and on
 21   that basis, they are denied.
 22         94.    Answering paragraph 94, Defendant denies the conduct attributed to
 23   him in this paragraph. The remainder of the paragraph is vague, ambiguous and
 24   over broad. Accordingly, Defendant lacks sufficient knowledge or information to
 25   form a belief as to the truth of the remainder of the allegations contained in said
 26   paragraph and on that basis, the remainder of the allegations are denied.
 27         95.    Answering Paragraph 95, Defendant denies the allegations of this
 28   paragraph.

                                                   -13-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 14 of 23 Page ID #:511




  1         96.    Answering Paragraph 96, Defendant denies the allegations of this
  2   paragraph.
  3         97.    Answering Paragraph 97, Defendant denies the allegations of this
  4   paragraph.
  5         98.    Answering Paragraph 98, Defendant admits having Plaintiff in his
  6   vehicle and taking her from one area of downtown to another area of downtown.
  7   The remainder of the allegations of this paragraph are vague, ambiguous and
  8   overbroad. Accordingly, Defendant does not have sufficient knowledge or
  9   information to form a belief as to the truth of the remainder of the allegations
 10   contained in said paragraph, and on that basis they are denied.
 11         99.    Answering Paragraph 99, Defendant denies the allegations of this
 12   paragraph.
 13         100. Answering Paragraph 100, Defendant denies the allegations of this
 14   paragraph.
 15         101. Answering Paragraph 101, Defendant denies the allegations of this
 16   paragraph.
 17         102. Answering Paragraph 102, Defendant denies the allegations of this
 18   paragraph.
 19         103. Answering Paragraph 103, Defendant denies the allegations of this
 20   paragraph.
 21         104. Answering Paragraph 104, Defendant admits that Plaintiff got out of
 22   his vehicle. Defendant denies the remainder of the allegations of this paragraph.
 23         105. Answering Paragraph 105, Defendant denies the allegations of this
 24   paragraph.
 25         106. Answering Paragraph 106, the allegation is vague, ambiguous and
 26   unintelligible. Accordingly, Defendant does not have sufficient knowledge or
 27   information to form a belief as to the truth of the allegations contained in said
 28   paragraph, and on that basis, they are denied.

                                                 -14-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 15 of 23 Page ID #:512




  1         107. Answering Paragraph 107, Defendant admits the allegation in this
  2   paragraph.
  3         108. Answering Paragraph 108, Defendant denies the allegations of this
  4   paragraph.
  5         109. Answering Paragraph 109, Defendant denies the allegation to the
  6   extent it is alleged as to his conduct. Defendant denies that he arrested Plaintiff.
  7   The remainder of the allegation is vague, ambiguous and unintelligible.
  8   Accordingly, Defendant does not have sufficient knowledge or information to
  9   form a belief as to the truth of the allegations contained in the remainder of said
 10   paragraph, and on that basis, they are denied.
 11         110.    Answering Paragraph 110, Defendant denies the allegations of this
 12   paragraph and denies that he was a cause of any injury or damage to Plaintiff.
 13         111. Answering Paragraph 111, Defendant denies the allegations of this
 14   paragraph and denies that he was a cause of any injury or damage to Plaintiff.
 15         112.    Answering Paragraph 112, Defendant denies the allegations of this
 16   paragraph and denies that he was a cause of injury or damage to Plaintiff and that
 17   Plaintiff is entitled to an award of any damages, including punitive damages, as a
 18   result of any of his conduct.
 19         113. Answering Paragraph 113, Defendant denies the allegations of this
 20   paragraph and denies that he was a cause of injury or damage to Plaintiff and that
 21   Plaintiff is entitled to an award of any damages, including attorney’s fees or costs
 22   and expenses, as a result of any of his conduct.
 23                           FOURTH CLAIM FOR RELIEF
 24           LIABILITY OF ALL DEFENDANTS UNDER 42 USC §1983
 25       (CRUEL AND UNUSUAL PUNISHMENT IN VIOLATION OF THE
 26                               EIGHTH AMENDMENT)
 27         114. Answering Paragraph 114, Defendant acknowledges that Plaintiff is
 28   re-pleading all prior paragraphs and Defendant answers and responds to said

                                                 -15-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 16 of 23 Page ID #:513




  1   allegations as previously set forth above.
  2         115. Answering paragraph 115, Defendant denies the conduct attributed to
  3   him in this paragraph. The remainder of the paragraph is vague, ambiguous and
  4   over broad. Accordingly, Defendant lacks sufficient knowledge or information to
  5   form a belief as to the truth of the remainder of the allegations contained in said
  6   paragraph and on that basis, the remainder of the allegations are denied.
  7         116. Answering Paragraph 116, Defendant lacks sufficient knowledge or
  8   information to form a belief as to the truth of the allegations contained in said
  9   paragraph and on that basis, the allegations are denied.
 10         117. Answering paragraph 117, Defendant lacks sufficient knowledge or
 11   information to form a belief as to the truth of the allegations contained in said
 12   paragraph and on that basis, the allegations are denied.
 13         118. Answering Paragraph 118, Defendant lacks sufficient knowledge or
 14   information to form a belief as to the truth of the allegations contained in said
 15   paragraph and on that basis, the allegations are denied.
 16         119. Answering Paragraph 119, Defendant lacks sufficient knowledge or
 17   information to form a belief as to the truth of the allegations contained in said
 18   paragraph and on that basis, the allegations are denied.
 19         120. Answering Paragraph 120, Defendant admits that he became aware
 20   that Plaintiff was a transgender female. The remainder of the paragraph is vague,
 21   ambiguous and over broad. Accordingly, Defendant lacks sufficient knowledge or
 22   information to form a belief as to the truth of the remainder of the allegations
 23   contained in said paragraph and on that basis, the remainder of the allegations are
 24   denied.
 25         121. Answering paragraph 121, Defendant denies the conduct attributed to
 26   him in this paragraph. The remainder of the paragraph is vague, ambiguous and
 27   over broad. Accordingly, Defendant lacks sufficient knowledge or information to
 28   form a belief as to the truth of the remainder of the allegations contained in said

                                                   -16-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 17 of 23 Page ID #:514




  1   paragraph and on that basis, the remainder of the allegations are denied.
  2         122. Answering Paragraph 122, Defendant denies any conduct which may
  3   be attributed to him in this paragraph. Defendant denies that he was a cause of
  4   injury or damage to Plaintiff. The remainder of the paragraph is vague,
  5   ambiguous and over broad. Accordingly, Defendant lacks sufficient knowledge or
  6   information to form a belief as to the truth of the allegations contained in said
  7   paragraph and on that basis, they are denied.
  8         123. Answering Paragraph 123, Defendant denies that he was a cause of
  9   injury or damage to Plaintiff and that Plaintiff is entitled to an award of any
 10   damages, including punitive damages, as a result of any of his conduct. The
 11   remainder of the paragraph is vague, ambiguous and over broad. Accordingly,
 12   Defendant lacks sufficient knowledge or information to form a belief as to the
 13   truth of the allegations contained in said paragraph and on that basis, they are
 14   denied.
 15         124. Answering Paragraph 124, Defendant denies that he was a cause of
 16   injury or damage to Plaintiff and that Plaintiff is entitled to an award of any
 17   damages, including attorney’s fees or costs or expenses, as a result of any of his
 18   conduct. The remainder of the paragraph is vague, ambiguous and over broad.
 19   Accordingly, Defendant lacks sufficient knowledge or information to form a
 20   belief as to the truth of the allegations contained in said paragraph and on that
 21   basis, they are denied.
 22                                PRAYER FOR RELIEF
 23         Defendant denies that Plaintiff is entitled to any damages, including
 24   punitive damages against him, as a result of any act or omission on the part of this
 25   Defendant.
 26                               AFFIRMATIVE DEFENSES
 27                             FIRST AFFIRMATIVE DEFENSE
 28         As a separate and distinct affirmative defense, Defendant alleges that

                                                 -17-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 18 of 23 Page ID #:515




  1   Plaintiff's Complaint fails to state facts sufficient to constitute a cause of action
  2   upon which relief can be granted.
  3                         SECOND AFFIRMATIVE DEFENSE
  4         As a separate and distinct affirmative defense, Defendant alleges that
  5   Plaintiff's Complaint fails to state a claim under 42 U.S.C. § 1983 for Fourth,
  6   Eighth and/or Fourteenth Amendment violations upon which relief can be granted.
  7                            THIRD AFFIRMATIVE DEFENSE
  8         As a separate and distinct affirmative defense, Defendant alleges that
  9   Plaintiff consented to the act or omissions complained of in Plaintiff’s Complaint.
 10                         FOURTH AFFIRMATIVE DEFENSE
 11         As a separate and distinct affirmative defense, Defendant alleges that
 12   Plaintiff's Complaint fails to state a claim for violation of Civil Code § 1708.5,
 13   upon which relief can be granted against Defendant.
 14                            FIFTH AFFIRMATIVE DEFENSE
 15         As a separate and distinct affirmative defense, Plaintiff's claims against
 16   Defendant are barred as Defendant has qualified immunity from the allegations set
 17   forth in plaintiff's Complaint.
 18                            SIXTH AFFIRMATIVE DEFENSE
 19         As a separate and distinct affirmative defense, Plaintiff’s claims against
 20   Defendant are barred as Defendant is immune from the allegations set forth in
 21   Plaintiff’s Complaint.
 22                        SEVENTH AFFIRMATIVE DEFENSE
 23         As a separate and distinct affirmative defense, Defendant alleges that the
 24   claim of Plaintiff is barred pursuant to the equitable doctrines of unclean hands,
 25   waiver and assumption of the risk.
 26                         EIGHTH AFFIRMATIVE DEFENSE
 27         As a separate and distinct affirmative defense, Defendant alleges that the
 28   Complaint, and each claim contained therein, is barred on the ground that this

                                                  -18-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 19 of 23 Page ID #:516




  1   answering Defendant was not the cause in fact of any alleged damage, injury, or
  2   loss to Plaintiff, if any.
  3                           NINTH AFFIRMATIVE DEFENSE
  4          As a separate and distinct affirmative defense, Defendant alleges that the
  5   Complaint, and each claim contained therein, is barred on the ground that this
  6   answering Defendant was not a substantial cause of any alleged damage, injury, or
  7   loss to Plaintiff, if any.
  8                           TENTH AFFIRMATIVE DEFENSE
  9          As a separate and distinct affirmative defense, Defendant alleges that
 10   Plaintiff’s Complaint, and each and every claim contained therein, and/or any
 11   amendments thereto, is barred by the applicable statute of limitations and/or
 12   California Code of Civil Procedure § 335.1 and 342.
 13                         ELEVENTH AFFIRMATIVE DEFENSE
 14          As a separate and distinct affirmative defense, Defendant alleges that
 15   Plaintiff's Complaint, and each claim contained therein, is barred pursuant to the
 16   equitable doctrine of laches.
 17                         TWELFTH AFFIRMATIVE DEFENSE
 18          As a separate and distinct affirmative defense, Defendant alleges that
 19   Plaintiff is estopped by her own acts or omissions from recovery against this
 20   answering Defendant for the claims asserted in the Complaint.
 21                       THIRTEENTH AFFIRMATIVE DEFENSE
 22          As a separate and distinct affirmative defense, Defendant alleges that the
 23   Complaint, and each claim contained therein, is barred pursuant to the equitable
 24   doctrine of waiver.
 25                      FOURTEENTH AFFIRMATIVE DEFENSE
 26          As a separate and distinct affirmative defense, Defendant alleges that
 27   Plaintiff did not exercise ordinary care, caution, prudence, and good faith in
 28   connection with the events that are alleged in the Complaint; Plaintiff's lack of

                                                -19-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 20 of 23 Page ID #:517




  1   care, caution, prudence, and good faith was independent and unrelated to the
  2   actions or omissions, if any, of Defendant. Therefore, Plaintiff is barred from
  3   recovery against Defendant, or, alternatively, Plaintiff's recovery, if any, should be
  4   proportionately reduced.
  5                      FIFTEENTH AFFIRMATIVE DEFENSE
  6         As a separate and distinct affirmative defense, Defendant alleges that
  7   Plaintiff's alleged damages, if any, contained in the Complaint, were caused by
  8   persons and/or entities other than this answering Defendant, who failed to exercise
  9   ordinary care, caution or prudence and were negligent or acted wrongfully in their
 10   dealing with Plaintiff, and that at all times, said persons or entities were acting
 11   without consent, authorization, knowledge and/or ratification of this answering
 12   Defendant. Accordingly, any recovery against this answering Defendant by
 13   Plaintiff, if any, must be precluded and/or reduced in a proportionate amount to
 14   the fault on the part of such other persons and/or entities.
 15                      SIXTEENTH AFFIRMATIVE DEFENSE
 16         As a separate and distinct affirmative defense, Defendant alleges that
 17   Plaintiff's Complaint fails to state a claim for False Arrest, upon which relief can
 18   be granted against Defendant.
 19                    SEVENTEENTH AFFIRMATIVE DEFENSE
 20         As a separate and distinct affirmative defense, Defendant alleges that the
 21   claim of Plaintiff is barred pursuant to the equitable doctrine of consent.
 22                     EIGHTEENTH AFFIRMATIVE DEFENSE
 23         As a separate and distinct affirmative defense, Defendant alleges that the
 24   Plaintiff’s claims are barred by the failure of plaintiff to commence the action
 25   within the time required by California Government Code §§ 945.6 and 950.2.
 26                     NINETEENTH AFFIRMATIVE DEFENSE
 27         As a separate and distinct affirmative defense, defendant alleges that he is
 28   not liable for the execution or enforcement of the law by public officers or

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Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 21 of 23 Page ID #:518




  1   employees exercising due care.
  2                      TWENTIETH AFFIRMATIVE DEFENSE
  3         As a separate and distinct affirmative defense, the Complaint fails to state
  4   sufficient facts to entitle Plaintiff to claim punitive or exemplary damages.
  5                    TWENTY-FIRST AFFIRMATIVE DEFENSE
  6         As a separate and distinct affirmative defense, Defendant alleges that all the
  7   causes of action set forth in Plaintiff's Complaint are barred because Plaintiff
  8   failed to take reasonable steps to mitigate her damages.
  9                  TWENTY-SECOND AFFIRMATIVE DEFENSE
 10         As a separate and distinct affirmative defense, Defendant alleges that the
 11   plaintiff's claims are barred by the failure of plaintiff to exhaust all administrative
 12   remedies including all remedies pursuant to 42 U.S.C. § 1997.
 13                    TWENTY-THIRD AFFIRMATIVE DEFENSE
 14         As a separate and distinct affirmative defense, Defendant alleges that the
 15   Plaintiff's claim is barred by the Prisoner's Litigation Reform Act ("PLRA").
 16                  TWENTY-FOURTH AFFIRMATIVE DEFENSE
 17         As a separate and distinct affirmative defense, Defendant is not liable for
 18   any policymaking decisions, customs, or practices as implemented.
 19                    TWENTY-FIFTH AFFIRMATIVE DEFENSE
 20         As a separate and distinct affirmative defense, Plaintiff's claims are barred
 21   by the doctrines of collateral estoppel and res judicata.
 22                    TWENTY-SIXTH AFFIRMATIVE DEFENSE
 23         As a separate and distinct affirmative defense, Plaintiff has failed to comply
 24   with the California Tort Claims Act.
 25                  TWENTY-SEVENTH AFFIRMATIVE DEFENSE
 26         Defendant preserves any immunity rights under Government Code §§ 815,
 27   et seq., including but not limited to defenses under sections 815.6, 820.2, 820.4,
 28   820.8, 821.6, 844.6, 845, 845.2 and 845.6.

                                                  -21-
Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 22 of 23 Page ID #:519




  1                  TWENTY-EIGHTH AFFIRMATIVE DEFENSE
  2          As a separate and distinct affirmative defense, Defendant alleges that the
  3   Plaintiff’s claims are barred by the failure of Plaintiff to timely comply with the
  4   administrative claim provisions of California Government Code §§ 911.2 and
  5   945.4, and 950.6
  6                   TWENTY-NINTH AFFIRMATIVE DEFENSE
  7         Defendant reserves the right to assert other affirmative defenses as they
  8   may become known during the course of discovery, and hereby specifically
  9   reserves the right to amend his answer to allege said affirmative defenses at such
 10   time as they become known.
 11         WHEREFORE, answering Defendant prays for judgment as follows:
 12         1.     That Plaintiff takes nothing by reason of her Complaint, and that
 13   judgment be entered in favor of Defendant on each claim asserted against him;
 14         2.     That answering Defendant recovers his costs of suit incurred herein,
 15   including reasonable attorneys' fees; and;
 16         3.     For such other and further relief as the Court deems proper and just.
 17
 18    Dated: February 23, 2021             SEKI, NISHIMURA & WATASE, LLP

 19
 20                                         By:        /s/ JANET L. KEUPER
                                                      GILBERT M. NISHIMURA
 21                                                   JANET L. KEUPER
 22                                                   Attorneys for Defendant
                                                      JESSE CERRITOS
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Case 2:19-cv-08946-DSF-JPR Document 53 Filed 02/23/21 Page 23 of 23 Page ID #:520




  1                            REQUEST FOR JURY TRIAL
  2         Defendant JESSE CERRITOS hereby requests a jury trial on all issues
  3   triable by jury, as provided by Federal Rule of Civil Procedure, Rule 38(a) and (b).
  4
  5   Dated: February 23, 2021             SEKI, NISHIMURA & WATASE, LLP

  6
  7                                        By:      /s/ JANET L. KEUPER
                                                    GILBERT M. NISHIMURA
  8                                                 JANET L. KEUPER
  9                                                 Attorneys for Defendant
                                                    JESSE CERRITOS
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